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8                           UNITED STATES DISTRICT COURT

9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,               No. SA CR 16-00008-JLS

12             Plaintiff,                    PERSONAL MONEY JUDGMENT OF
                                             FORFEITURE
13                   v.

14   MICHAEL E. BARRI,

15             Defendant.

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1         Pursuant to the Stipulation and request of the parties filed in

2    this matter on April 16, 2018, the Court hereby finds and orders as

3    follows:

4         1.     On January 20, 2016, defendant entered into a plea

5    agreement in the case captioned United States v. Michael E. Barri,

6    No. SA CR 16-008-JLS, pursuant to which he agreed to plead guilty to

7    conspiracy to commit mail fraud and honest services mail fraud, and

8    engaging in monetary transactions in property derived from specified

9    unlawful activity, in violation of 18 U.S.C. § 371.          (CR 5.)

10        2.     Pursuant to his plea agreement, defendant acknowledged his

11   understanding that he would be required to pay full restitution to

12   the victims of the offense to which defendant pleaded guilty.            (CR 5

13   at ¶ 13.)    Defendant further agreed that the Court may order

14   restitution to any victim of any relevant conduct, as defined in

15   U.S.S.G. § 1B1.3 in connection with the offense to which defendant

16   pleaded guilty.    (Id.)   The government estimated that the amount of

17   restitution is approximately $206,505.

18        3.     The entry of a judgment of forfeiture is specifically

19   authorized by Rule 32.2 of the Federal Rules of Criminal Procedure

20   and is part of the defendant’s sentence.        Rule 32.2(c)(1) provides

21   that “no ancillary proceeding is required to the extent that the

22   forfeiture consists of a money judgment.”

23        4.     Pursuant to the stipulation, defendant expressly waived the

24   requirements of Federal Rules of Criminal Procedure 32.2. and 43(a)

25   regarding notice of forfeiture in the charging instrument,

26   pronouncement of forfeiture at sentencing, and incorporation of

27   forfeiture in the personal money judgment of forfeiture.           Defendant

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1    further agreed to immediate entry of the Judgment, and that the

2    personal money judgment of forfeiture shall become final as to him

3    upon entry.

4         5.   A personal money judgment of forfeiture in the amount of

5    $206,505.00 (two hundred six thousand, five hundred and five dollars)

6    is HEREBY ENTERED in favor of the United States of America against

7    defendant Michael E. Barri.

8         6.   This personal money judgment of forfeiture is part of the

9    sentence imposed on defendant in this case.

10        7.   This Court shall retain jurisdiction for the purpose of

11   enforcing this personal money judgment of forfeiture.           The government

12   shall notify the Court upon defendant’s satisfaction of his

13   obligations under this judgment.

14        IT IS SO ORDERED.

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16
     April 18, 2018
17   DATE                                   HONORABLE JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
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